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 2   819 Eddy Street
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 3
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 4   Facsimile: (415) 474-3748
 5
     Attorney for Plaintiff TAMARA DOUKAS
 6

 7

 8                               THE UNITED STATES DISTRICT COURT
 9                      FOR THE NORTHERN DISCTRICT OF CALIFORNIA
10                                  DIVISION OF SAN FRANCISCO
11
     TAMARA DOUKAS, an individual,
12                                                     CV 08 2336 SI
                    Plaintiff,
13                                                     PLAINTIFF TAMARA DOUKAS’S
            v.                                         AMENDED/ERRATA INITIAL
14                                                     DISCLOSURES PER RULE 26(a) and 26(f)
     COUNTY OF SAN MATEO, a public entity,
15   PENINSULA HUMANE SOCIETY, a private
     non-profit organization, DEBI DENARDI, an
16   individual, KIM HADDAD, an individual,
     KKH INC, a private entity, SPIKE REAL
17   STATE, a private entity, and DOES 1 through
     50, inclusive,
18
                    Defendants.
19

20          Witnesses
21          Tamara Doukas
22
            Ann Doukas
23
            Steven Doukas
24
            All three people above were present the afternoon Kodiak was killed and witnessed the
25

26   killing as well as statements beforehand and Kodiak’s condition.

27          The below people have knowledge about Kodiak’s health in the days, weeks and months

28   preceding his killing.

     PLAINTIFF TAMARA DOUKAS’S AMENDED/ERRATA INITIAL DISCLOSURES PER RULE 26(a) and 26(f)
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 1         Specialist Dr. George Doering 987 Laurel St, San Carlos, CA 94070, 650-598-0968.

 2         Specialist Dr. Janet Dunn PO Box 644, San Mateo, CA 94401, 650-839-0323.
 3
           Scout’s House (therapist name unknown) 506 Santa Cruz Avenue, Menlo Park CA 94025,
 4
     650-328-1430
 5
           Caroline Kwan 1999 Fernside St, Redwood City, CA 94061, 510-375-7526.
 6
           Christopher Johnson 1999 Fernside St, Redwood City, CA 94061, 650-208-8101.
 7

 8         Specialist Dr. George Doering 987 Laurel St, San Carlos, CA 94070, 650-598-0968.

 9         Specialist Dr. Janet Dunn PO Box 644, San Mateo, CA 94401, 650-839-0323
10

11
           Dr. Victoria Sweet, MD
12                (650) 365-2398
                  1947 Alameda de las Pulgas
13                Redwood City, CA 94061
14         b.       James Knapp
15                  (650) 568-3402
                    1959 Fernside Street
16                  Redwood City, CA 94061

17         c.       Bea Moore
                    (650) 368-4753
18                  1991 Fernside Street
19                  Redwood City, CA 94061

20         d.       Gertrude Ruschoff
                    (650) 366-4536
21                  1951 Fernside Street
                    Redwood City, CA 94061
22

23         e.       Donald Montalvo
                    (650) 375-0600
24                  1967 Fernside Street
                    Redwood City, CA 94061
25
           f.       Brent Roles
26
                    (650) 365-5903
27                  165 Woodside Drive
                    Woodside, CA 94061
28

     PLAINTIFF TAMARA DOUKAS’S AMENDED/ERRATA INITIAL DISCLOSURES PER RULE 26(a) and 26(f)
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 1          g.      Michelle Schneider and Lin Wang
                    (650) 363-8517
 2                  1930 Alameda de las Pulgas
                    Redwood City, CA 94061
 3

 4          h.      Eric and Pamela Schneider
                    (650) 464-4730
 5                  1975 Fernside Street
                    Redwood City, CA 94061
 6
            i.      Kumutnad Brannan
 7
                    1650 Alameda de las Pulgas
 8                  Redwood City, CA 94061
                    (650) 367-0374
 9
        Store employees that saw Kodiak inside or just outside the store on days immediately prior to
10      his death:
11
            a.      Kristina Ruble
12                  (510) 318-0255
                    Pet Food Express
13                  372 Woodside Plaza
                    Redwood City, CA 94061
14

15          b.      Paolo Ceccato
                    (650) 591-3355
16                  California Carpet
                    695 Industrial Road
17                  San Carlos, CA 94070
18

19          Employees of Peninsula Humane Society are aware of its practices and Denardi’s failure to

20   utilize proper procedures. Employees of the San Mateo District Attorney, including Mr.

21   Wagstaffe have knowledge of the incident.
22
            Document Production: Plaintiff has already produced documents required by
23
     FRCP26(a)(1)(A)(ii).
24
            Damages Computation:
25
            Medical Bills --- These are expected to increase. Plaintiff believes that defendants have
26

27   the current bills and records per their subpoena of same.

28          Plaintiff has sought medical counseling the records of which have been produced to

     PLAINTIFF TAMARA DOUKAS’S AMENDED/ERRATA INITIAL DISCLOSURES PER RULE 26(a) and 26(f)
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 1   Defendants. Any billing records should be in those records and have already been disclosed.

 2          Loss of Income—Plaintiff currently makes $3250.00 net per month. Her estimate for her
 3
     earning capacity with a PhD is $10,000. This is based on the difference between Plaintiff’s likely
 4
     salary her first year after obtaining her PhD and her actual income. In addition, in the future the
 5
     income differential will remain and every year she is likely to make less than she would have had
 6
     she obtained her PhD as scheduled until the last year of her employment.
 7

 8          Emotional Distress - $250,000 or more based on Plaintiff’s extreme attachment to Kodiak

 9   and being forced to watch him forcibly killed.
10          Punitive Damages of $500,000.00 or greater against PHS.
11
            Punitive Damages of $25,000.00 against Debi Denardi.
12
            Punitive Damages of $35,000.00 against Kim Haddad.
13
            Statutory Damages against each defendant as permitted by Civil Code 52.1 and 52
14

15   including $25,000 per liable defendant and three times actual damage but not less than $4,000

16   against each defendant. Actual damage means all compensatory damages alleged above and

17   shown by the evidence at trial.
18

19

20
     Dated: August 11, 2008                        __________ s/s_________________
21
                                                   Daniel Berko, Attorney for Plaintiff,
22
                                                   Tamara Doukas
23

24

25

26

27

28

     PLAINTIFF TAMARA DOUKAS’S AMENDED/ERRATA INITIAL DISCLOSURES PER RULE 26(a) and 26(f)
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